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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1638V
                                    Filed: February 13, 2018
                                         UNPUBLISHED


    KARA DOUGLAS,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Shoulder Injury
                                                             Related to Vaccine Administration
    SECRETARY OF HEALTH AND                                  (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On December 13, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury as a result of
receiving her October 14, 2015 influenza vaccination. Petition at 1; Stipulation, filed
February 13, 2018, at ¶ 4. Petitioner further alleges that she experienced residual
effects of her injury for more than six months and that there has been no prior award or
settlement of a civil action for damages on her behalf as a result of her condition.
Petition at 2; Stipulation at ¶¶ 4-5. “Respondent denies that the influenza vaccine
caused petitioner to suffer a left shoulder injury or any other injury. ” Stipulation at ¶ 6.

       Nevertheless, on February 13, 2018, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $51,245.24 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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